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                 EXHIBITA
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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

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 SPARTA INSURANCE COMPANY                                  :
 (as successor in interest to Sparta Insurance
 Holdings, Inc.),                                          :

                           Plaintiff,                     :      Civil Action
                                                                 No. 21-11205-FDS
         v.                                               :

 PENNSYLVANIA GENERAL INSURANCE                           :
 COMPANY (now known as Pennsylvania
 Insurance Company),                                      :

                            Defendant.                     :
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    [PROPOSED] ORDER GRANTING DEFENDANT PENNSYLVANIA GENERAL
INSURANCE COMPANY’S PARTIAL MOTION FOR JUDGMENT ON THE PLEADINGS

         WHEREAS, pursuant to Federal Rule of Civil Procedure 12(c)(1), Defendant Pennsylvania

General Insurance Company, n/k/a Pennsylvania Insurance Company (“Defendant”), has moved

for partial judgment on Plaintiff SPARTA Insurance Company’s (“Plaintiff’s”) pleadings, and the

Court having concluded that there are good grounds for the relief requested in Defendant’s Motion;

         IT IS HEREBY ORDERED that:

         1. Judgment on the pleadings is entered in favor of Defendant and against Plaintiff on

              Plaintiff’s first request for declaratory judgment (Count I).

         2. The Court finds that Plaintiff has not pled a justiciable claim for declaratory relief in

              Count I of its Amended Complaint and thus dismisses Count I for lack of federal subject

              matter jurisdiction.

Dated:
                                                              The Hon. Chief Judge F. Dennis Saylor, IV
                                                              United States District Court
